




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1346-13






BENNETT KEITH O'BANNON, Appellant


									

v.



THE STATE OF TEXAS






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY






	Per curiam.


O P I N I O N 




	Appellant was convicted of indecency with a child and sentenced to 32 years in
prison.  On appeal, he argued, among other things, that the evidence was insufficient to
support various court costs assessed against him in the judgment.   The Court of Appeals
agreed, relying on its own opinion in Johnson v. State, 389 S.W.3d 513 (Tex. App. - Houston
[14th Dist.] 2012).  O'Bannon v. State, No. 14-12-00653-CR, 2013 Tex. App. LEXIS 11498
(Tex. App. - Houston [14th Dist.] September 10, 2013) (not designated for publication).

	The State has filed a petition for discretionary review of this decision.  We recently
handed down our opinion in Johnson v. State, No. PD-0193-13, 2014 Tex. Crim. App.
LEXIS 240 (Tex. Crim. App. February 26, 2014), in which we set forth a roadmap for
resolving questions regarding court costs.  See also Cardenas v. State, No. PD-0733-13, 2014
Tex. Crim. App. LEXIS 236 (Tex. Crim. App. February 26, 2014).

	The Court of Appeals in the instant case did not have the benefit of our opinion in
Johnson.  Accordingly, we grant the State's petition for discretionary review, vacate the
judgment of the Court of Appeals, and remand this case to the Court of Appeals in light of
our opinion in Johnson.  No motion for rehearing will be entertained.



DATE DELIVERED: April 16, 2014


DO NOT PUBLISH	

				


